          Case 1:21-cv-02655-LGS-SN Document 409 Filed 03/27/23 Page 1 of 2




March 27, 2023

VIA ECF

Hon. Lorna G. Schofield
United States District Court for the Southern District of New York
500 Pearl Street
New York, NY 10007

Re:       Global Gaming Philippines, LLC v. Razon, Jr., et al., 21 Cv. 2655 (LGS) (SN)

Dear Judge Schofield,

Plaintiff Global Gaming Philippines, LLC (“GGAM”) and Defendant Enrique K. Razon
(“Razon”), and Defendants Bloomberry Resorts and Hotels Inc. (“BRHI”) and Sureste Properties,
Inc. (“SPI”) respectfully submit this joint request for oral argument on the following motions:

         GGAM’s Motion to Recognize and Enforce a Foreign Arbitral Award Against Defendants
          BRHI and SPI (Dkt. 327);

         BRHI’s and SPI’s Cross-Motion for Summary Judgment for Lack of Personal Jurisdiction
          (Dkt. 357);

         Razon’s Motion for Summary Judgment (Dkt. 335); and

         GGAM’s Motion for Partial Summary Judgment Against Defendant Razon (Dkt. 360).

The present request is timely pursuant to Individual Rule III(B)(6) and this Court’s scheduling
orders dated December 30, 2022 (Dkt. 321) and February 28, 2023 (Dkt. 380).

The parties also request that, following the close of briefing on the above-referenced motions, the
parties jointly submit all deposition transcripts and expert reports cited in the motions pursuant to
Individual Rule III(B)(3). This will prevent the Court from receiving multiple copies of the same
deposition transcripts and expert reports multiple times. The parties will request a link to upload
the courtesy copies from Schofield_NYSDChambers@nysd.uscourts.gov.
      Case 1:21-cv-02655-LGS-SN Document 409 Filed 03/27/23 Page 2 of 2




Respectfully submitted,


 Mintz, Levin, Cohn, Ferris, Glovsky and   Milbank LLP
   Popeo, P.C.

 /s/ Kaitlyn A. Crowe                      /s/ Brett P. Lowe
 Kevin N. Ainsworth                        Daniel M. Perry
 Barry Bohrer                              55 Hudson Yards
 Kaitlyn A. Crowe                          New York, NY 10001
 Daniel T. Pascucci                        Telephone: (212) 530-5000
 Joseph R. Dunn                            Facsimile: (212) 530-5219
                                           dperry@milbank.com
 919 Third Avenue
 New York, NY 10022                        Erin M. Culbertson
 T: (212) 935-3000                         Brett P. Lowe (admitted pro hac vice)
 F: (212) 983-3115                         1850 K Street, NW
 kainsworth@mintz.com                      Suite 1100
 bbohrer@mintz.com                         Washington, DC 20006
 jhalperin@mintz.com                       Telephone: (202) 835-7500
 kacrowe@mintz.com                         Facsimile: (202) 263-7586
 dtpascucci@mintz.com                      eculbertson@milbank.com
 jrdunn@mintz.com                          blowe@milbank.com
 Attorneys for Plaintiff                   Counsel to Defendants Bloomberry
 Global Gaming Philippines, LLC            Resorts and Hotels Inc. and Sureste
                                           Properties, Inc.

                                           Walfish & Fissell PLLC

                                           By: /s/ Rachel Penski Fissell
                                           Rachel Penski Fissell
                                           Daniel R. Walfish

                                           405 Lexington Avenue, Fl 8
                                           New York, NY 10174
                                           Tel.: 212-672-0523
                                           rfissell@walfishfissell.com
                                           dwalfish@walfishfissell.com
                                           Attorneys for Defendant Enrique K.
                                           Razon, Jr.
